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5 * INTANGIBLES ASSIGNMENTS

WHEREAS, RICHARD R. FINCH (the "“Assignor) has heretofore
acquired various legal and/or equitable rights, titles or interests in and to
certain copyrights, master recardings,. musician's royalty interests, producer's
royalty interests, writer's royaity interest and other royalty interest or in-
tangible property. rights with respect to of in.connection with music which is or
was co-owned by Assignor with Harry Wayne Casey (the "Assignee") or which
is or was individually owned by the Assignor with respect to or in connection
with music which was written, produced and/or recorded on or before the date
hereof by, through or in connection with Sunshine Sound Enterprises, Inc., a
Florida corporation ("SSE"), K.C. and The Sunshine Bank, Inc., a Florida
corporation ("KCS"), Harrick Music, Inc., a Florida corporation ("HMI"),
Sunshine Sound Productions, Inc., a Florida corporation ("SSP") and/or a
music entertainment group known as "K.C. and The Sunshine Band" (with all of
such rights and/or property interests hereinafter collectively being referred to
as the "Intangible Property. Rights"); and

WHEREAS, the Assignee, as Part of an averail settlement of his
business differences with the Assignar pursuant to a Property Division
Agreement dated October 274, 1983, is desirous of acquiring all of the
Assignor's legal and/or equitable rights, titles or interests in and to the

Intangible Property Rights.

NOW, THEREFORE, for good and valuable consideration, the receipt
of which is hereby acknowledged, Assignor has sold, assigned, transferred and
‘set over, and by these presents does hereby sell, assign, transfer and set
over unto Assignee his successors, legal representatives and assigns all of his
legal and/or equitable rights, titles and interests in, to and under the
Intangible Property Rights in the United States of America and every other
place in the world, together with the gcodwil! of the business symbolized by the
Intangible Property Rights, and any. -registrations thereof and all applications
and all divisions, reissues, and continuations thereof, and all United States
Trademark Registrations or Copyright Registrations or similar registrations
which may be granted thereon and all reissues and extensions thereof, and al]
applications for trademark, copyright or similar registrations which may here-
after be filed for the intangible Property Rights in any country or countries
foreign to the United States, and all trademark, copyright or similar registra-
tions which may be granted for the Intangible Property Rights in any country
or countries foreign to the United States, and any official of any country or
countries foreign to the United States and all divisions, extensions, renewals,
and reissues thereof; and Assignor hereby authorizes and requests the Com-
missioner of Patents and Trademarks of the United States, and any official of
any country or countries foreign to the U.S., whose duty it is to issue trade-
mark, copyright or similar registrations on applications as aforesaid, to issue all
Trademark Registrations and Copyright Registrations for the Intangible
Property Rights to the said Assignee, his successors, legal representatives,
and assigns, in accordance with the terms of this instrument.

AND ASSIGNOR HERESY covenants that he has full right to convey
his entire rights, titles and interests herein assigned, and that he has not
executed, and will not execute, any agreements in conflict herewith.

AND ASSIGNOR HERESY covenants and agrees to communicate to
Assignee, his successors, legal representatives, and assigns, any facts known
to Assignor respecting the Intangible Property Rights, and testify in all legal
Proceedings, sign ali tawfui papers, execute all divisional, continuation, and
reissue applications, make all rightful oaths and generally de everything
possible to aid Assignee, his successors, legal representatives and assigns, to
obtain and enforce proper protection for the Intangible Property Rights in afi

countries.

IN WITNESS WHEREQOF, Assignor has caused these presents to be
duly executed as of the 2% day of October, 1983.

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RICHARD R. FINCH
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& STATE OF FLORIDA )
/ SS:
COUNTY OF DADE a)

Subscribed and sworn to by RICHARD R. FINCH this ZZ&E day of
October, T983-

 

 

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My Commission Expires: 4 on \ ) 4
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